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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 In re:                                              §      Chapter 11
                                                     §
 Rooftop Group International Pte. Ltd,               §      Case No. 19-31443-hdh11
                                                     §
 Debtor.                                             §

          MOTION FOR ORDER DECLARING AUTOMATIC STAY APPLIES TO
               DEBTOR PROPERTY UNDER AFFILIATE CONTROL

          NO HEARING WILL BE CONDUCTED HEREON, OR THE HEARING
          SET ON THIS APPLICATION WILL BE CANCELLED WITHOUT
          FURTHER NOTICE, UNLESS A WRITTEN RESPONSE IS FILED WITH
          THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
          EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE ST., RM.
          1254, DALLAS, TX 75242-1496, BEFORE CLOSE OF BUSINESS ON
          AUGUST 3, 2019, WHICH IS AT LEAST 24 DAYS FROM THE DATE OF
          SERVICE HEREOF.

          ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
          CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
          MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
          HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD WITH
          NOTICE ONLY TO THE OBJECTING PARTY.

          IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
          REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
          UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
          THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.




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        COMES NOW, Triumphant Gold Limited (“TGL”), and files this Motion for Order

Declaring Automatic Stay Applies to Debtor Property Under Affiliate Control (the “Motion”) to

protect property of Rooftop Group International Pte Ltd. (“Rooftop” or “Debtor”) in the asserted

possession, custody, or control of non-debtor affiliates and respectfully would show the Court as

follows:

                                              Summary

        1.      The Debtor has borrowed tens of millions of dollars from TGL to manufacture and

purchase inventory in order to fulfill purchase orders (“POs”) and generate accounts receivable,

and has pledged its bank accounts, POs, and accounts receivable as security for the borrowed

funds. Based on the limited testimony of the Debtor’s principal, Darren Matloff (“Matloff”), and

available documentary evidence, the Debtor – which is ultimately owned and controlled by

Gandiva Investments Limited (“Gandiva”), a BVI holding company believed to be controlled by

Matloff – has impermissibly transferred certain encumbered assets out of the company to other

Gandiva-controlled entities, Rooftop Group USA, Inc. (“Rooftop USA”) and/or Rooftop Group

Services (US), Inc. (“Rooftop Services”), seeking to shield those assets from the claims of TGL

and other creditors until they can be dissipated. Moreover, the Debtor operates its business under

certain arrangements that, on information and belief, entitle the Debtor to an interest in certain

property legally titled in the name of third parties.

        2.      Fifth Circuit precedent provides that the automatic stay can apply to property in the

possession of a nondebtor that arguably belongs to the debtor’s estate, pending a resolution of a

non-frivolous dispute on that point. Accordingly, TGL asks the Court to enter an order affirming

the automatic stay applies to certain assets held on the Debtor’s behalf by nondebtors Rooftop

USA and/or Rooftop Services so that such assets can be preserved for the benefit of the estate.




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                                                Procedural History

         3.       On April 30, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

protection under chapter 11 of the United States Bankruptcy Code. In its petition, the Debtor states

that it has between $1 million and $10 million in assets and $50 to $100 million in liabilities owed

to less than 50 creditors. See Dkt. 1. The Debtor’s recently filed schedules paint an even starker

picture, with less than $10,000 in assets and more than $60,000,000 in liabilities. See Dkt. 21.

         4.       Its schedules further reflect that all of the Debtor’s major lenders and other creditors

are foreign corporations. See id. 1 While the Debtor remains in possession of its estate, it has not

filed any typical “first day” pleadings, except that it has requested to hire counsel (which

apparently received the majority of the Debtor’s liquid assets on the eve of Petition Date) [see

Dkts. 20 & 22 (at Appendix 3)] and has now filed a sale motion as to certain intellectual property

rights (though those rights are alleged to have been assigned at least in part to Amax Industrial

Group China Co., Ltd. pursuant to unknown terms). See Dkt. 21 (Schedule G); Dkt. 44.

         5.       TGL has moved to dismiss the bankruptcy, to lift the stay with respect to pending

legal actions against the Debtor and its principal in Singapore, and alternatively to appoint a

Chapter 11 trustee in the event that the motion to dismiss is denied. See Dkt. 27 (“Motion to

Dismiss”). The arguments raised in the present Motion are made subject to and without waiving

the Motion to Dismiss, in order that the assets of the estate may be preserved to the extent that the

case remains in bankruptcy.

                                              Relevant Background

         6.       The Debtor is a Singapore company that has traditionally been in the business of

the manufacture and sale of consumer “quadcopters,” or drones. Darren Scott Matloff is the


1
 At the Debtor’s 341 meeting, the Debtor’s representative testified that many of the creditors listed that are not foreign
entities are actually creditors of non-debtor entities.


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founder, director and chief executive officer of the Debtor, and further controls and/or is the

ultimate owner of an elaborate web of non-debtor affiliates. The Debtor’s business operations are

designed around an enterprise model that involves these non-debtor affiliates and/or agents for

purposes ranging from alleged tax benefits to alleged low-cost customer service to alleged world-

wide supply chain efficiencies. This arrangement creates beneficial ownership for the Debtor in

property held by and/or entrusted to such non-debtor affiliates or agents.

        7.       On information and belief, Mr. Matloff has contributed little-to-no cash to the

Debtor or the broader Rooftop enterprise, and instead the Debtor has borrowed roughly $85 million

from lenders to keep the business afloat. Debtor’s business is thereby wholly reliant on generation

of new POs, for which it must then manufacture goods using borrowed funds, in order to generate

accounts receivable. The Debtor has yet to account for the flow of this $85 million over time.

        8.       TGL 2 is an entity incorporated in the Cayman Islands and is in the business of

providing mezzanine financing opportunities for various projects in Asia Pacific.

        9.       Prior to the Petition Date, in 2016, the Debtor and TGL entered into a series of

agreements (as amended and restated from time to time, the “TGL Loan Agreement”) pursuant to

which TGL loaned money on a secured basis to the Debtor (the “TGL Facility”) in order to, among

other things, (a) provide working capital to the Debtor, and (b) finance the manufacture of

recreational drones in China.

        10.      The Debtor’s obligation to TGL was secured by, among other things, certain

guarantees (including by Mr. Matloff personally and by certain affiliates), a pledge of stock in

Rooftop to TGL by affiliate and majority shareholder Gandiva Investments Limited (a BVI


2
  TGL is a special purpose vehicle of Aktis Capital Master Fund Limited, which engages in direct/structured
investment activities in developing and emerging economies in Asia. Aktis Capital has not loaned money directly to
Rooftop.



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company), 3 an assignment to TGL of POs and accounts receivable (trade assets) into which the

POs converted once goods were delivered, and a charge over certain bank accounts in Hong Kong.

The agreement provided for maintenance of a specified loan-to-value ratio base of this type of

trade asset.

        11.      Even as Rooftop began experiencing cash flow constraints, Rooftop negotiated

with TGL for certain extensions and forbearances of rights and remedies, with TGL ultimately

agreeing to five rounds of such extensions and forbearances. These negotiations included TGL

extending millions of dollars in additional secured financing similar to the initial facility but with

conditonal use of cash. In essence the additional facility was “rescue funding” to reignite

Rooftop’s business engine in 2017.

        12.      In 2018, Rooftop sought yet another round of concessions from TGL, but without

offering any meaningful support that Rooftop would fulfill any extended terms, let alone any

outstanding facility infractions. In fact, Rooftop and Mr. Matloff were already in breach of not

only payment obligations but certain other material obligations under the TGL Loan Agreement

and related security documents, including with respect to the security Rooftop had pledged to

TGL. 4 On or about February 2018, Rooftop willfully breached TGL’s security pool (use of cash

from pledged bank account) and ceased adherence to certain operational, procedural, and

informational responsibilities required under the TGL agreement. Indeed, the TGL Loan

Agreement requires TGL’s consent, which has not been obtained, to the very filing of this Chapter

11 case.




3
  On information and belief, Gandiva is a BVI holding company through which a Matloff family trust (“Matloff
Trust”), managed by Mr. Matloff, owns Rooftop.
4
  For example, TGL has learned that Rooftop has purported to pledge assets, already subject to TGL’s affirmative or
negative pledge, to other lenders and that Rooftop transferred funds out of accounts on which TGL had liens, all in
violation of covenants in the TGL Loan Agreement.


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         13.       In essence, TGL and the Debtor’s bargain was that POs, and the accounts receivable

into which they convert on delivery of the underlying drones, were pledged to TGL in a coverage

of up to almost twice the outstanding principal. Once TGL funded the loans to the Debtor, new

POs (on top of pre-existing POs and accounts receivable) would be generated, which in turn would

generate more inventory, more accounts receivable, more cash, and so on over each sales cycle.

Accordingly, even after accounting for trade payments, normal overhead, agent payments, and

debt service, there should be tens of millions of dollars – not $7,000 – remaining for the Debtor’s

creditors. Indeed, a summary of the POs and A/R held by the Debtor as of January 11, 2018,

shows a total value of nearly $15 million – enough to cover the debt amount then owed to TGL.

See Ex. A at 11.

         14.       Therefore, TGL took legal action in Singapore against Rooftop, Mr. Matloff, and

certain Rooftop affiliates to (a) enforce TGL’s rights, including with respect to Rooftop affiliate

Gandiva’s pledge of Rooftop shares and with respect to Mr. Matloff’s personal guarantee, (b)

address TGL’s growing concern for Rooftop’s on-going viability under Mr. Matloff’s

management, and (c) preserve Rooftop’s assets. 5 Those lawsuits are more fully described in

TGL’s pending Motion to Dismiss Bankruptcy Filing or, alternately, to Lift the Automatic Stay

(Dkt. 27). 6

         15.       The Debtor has not provided transparency into the lower-tier non-debtor entities

through which the Debtor operates. However, it has admitted that (i) POs, A/R, and inventory are

held by non-debtor entities Asian Express Holdings Limited (“Asian Express”) and Rooftop USA



5
  Notably, Rooftop’s pleadings in the Singapore arbitration as to its financial health in the first quarter of this year are
in stark contrast to its current Chapter 11 filings.
6
  Interestingly, while the Debtor’s usual conduct in these suits involved evading and ignoring summonses, process
service, and deadlines, the Debtor itself sought legal recourse on each of the two occasions (the Singapore arbitration
action, in which it was roundly defeated, and this Chapter 11 filing) when it found itself on the verge of a judgment
in Singapore courts in TGL’s favor.


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(and potentially the Debtor’s European affiliates), and (ii) it has certain express or implied

relationships with these entities.

        16.      Specifically, marketing information distributed by the Debtor in January 2018

showed that the Debtor’s Propel-branded drones alone enjoyed sales of nearly $80 million in 2017.

See Ex. B at 5-7. Adding in Disney sales accounting for roughly another $70 million, an additional

$60 million of inventory on hand, and a combined $37 million in “Star receivables” and “non-Star

receivables,” the Rooftop business was a quarter-billion dollar enterprise at the end of 2017. See

id. Likewise, in a similar presentation dated Spring 2018, the Debtor claimed over $23 million in

operating capital on hand and projected robust revenue and earnings growth to achieve $170

million in revenue and $35 million in earnings by fiscal year 2020. See Ex. C at 5-7.

        17.      Meanwhile, on March 1, 2018 – just a few weeks after the Debtor’s January 2018

presentation asserting its financial strength – approximately $620,000 was transferred from an

Asian Express account at HSBC Bank in Hong Kong subject to TGL’s security interests to a

Rooftop USA account in New York that is not subject to any TGL security interest. See Ex. D at

2 [Chase statement showing transfers of $489,975, $76,368, and $54,475]. This fraudulent transfer

was in direct violation of the Debtor’s covenants to maintain charged accounts as security for

TGL’s investment. See Ex. A at § 7A [Side Letter Agreement 1-16-18].

        18.      As another red flag, the Debtor’s balance sheet as of December 31, 2017, shows

over $32 million in accounts receivable, most of which is held by related parties. See Ex. E.

However, none of this was disclosed in the Debtor’s bankruptcy schedules, meaning that either

assets currently held by the Debtor are being concealed from the Court or such assets were

transferred elsewhere without notice to Debtor’s creditors in violation of contractual agreements

and covenants.




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        19.       TGL anticipates that many more such fraudulent transfers will be uncovered in

discovery to explain how the Debtor suddenly went from a $250 million business to a $7,000

business in just over one year. It is simply not credible that a burgeoning $250 million business at

the end of 2017, which had the prospect of a further full year of funding through the end of 2018

from its US-based lender Star Funding, Inc. (whose facility, which revolved around a maximum

outstanding at any time of at least $50 million, was commenced near the end of 2017), has become

penniless. And, not coincidentally, an incredibly similar business involving drones bearing the

same makes and marks as those previously sold by Debtor is now being operated by Debtor’s

affiliate Amax Industrial Group China Co., Ltd., strongly suggesting that Debtor’s founder intends

to carry on the Debtor’s business operations while escaping his interest and principal obligations

to lenders and fee obligations to parties such as Disney.

                                     Arguments and Authorities

        20.       Section 362(a)(3) of title 11 provides that the filing of a bankruptcy petition

“operates as a stay, applicable to all entities, of . . . any act to obtain possession of property of the

estate or of property from the estate or to exercise control over property of the estate.” 11 U.S.C.

§ 362(a)(3).

        21.       The Fifth Circuit has distilled three principles establishing when the automatic stay

created by 11 U.S.C. § 362(a)(3) applies to non-debtors on account of a debtor’s property interest

against that non-debtor:

              •   a section 362(a)(3) stay applies to a cause of action that under state (or
                  federal) law belongs to the debtor;

              •   a section 362(a)(3) stay applies to a cause of action that seeks to recover
                  property of the estate where the property is held or controlled by a person
                  or entity other than the debtor; and

              •   in applying the above rules we do so by keeping in mind the Bankruptcy
                  Code’s general policies of securing and preserving the debtor’s property and


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                of ensuring equal distribution of the debtor’s assets to similarly-situated
                creditors.

Matter of S.I. Acquisition, Inc., 817 F.2d 1142, 1150 (5th Cir. 1987); see also In re Chesnut, 422

F.3d 298, 301 (5th Cir. 2005) (“The automatic stay is designed to protect creditors as well as

debtors. Without the stay, creditors might scramble to obtain as much property of the debtor’s

limited estate as possible. The automatic stay prevents such a scramble by providing ‘breathing

room’ for a debtor and the bankruptcy court to institute an organized repayment plan.”).

        22.     Accordingly, the Court should find that the stay extends to property in the

possession of a non-debtor if it impacts the equitable sharing among creditors promoted by the

bankruptcy laws. As the Fifth Circuit noted in Chesnut, the automatic stay applies to “arguable”

property of the bankruptcy estate, which it defined as property “subject to a non-frivolous dispute”

as to whether it was property of the estate. Id. at 302-303.

        23.     Here, there is significant evidence that property in the asserted possession of non-

debtors is, in fact, property of the estate. In connection with its loan agreement with TGL, the

Debtor executed a side letter agreement with TGL providing TGL a security interest in the

Debtor’s accounts receivable and its bank account. These receivables were pledged to TGL such

that the receivables would total at least 55% of the outstanding loan balance. Ex. A at ¶ 6.

        24.     Moreover, as recently as the spring of 2018, Matloff was representing to investors

that the Debtor had $36 million in inventory and remained a going concern. Ex. C at 7. However,

per its bankruptcy schedules filed on May 30, 2019, the Debtor’s only assets aside from intellectual

property are (a) $7,065.71 in cash, and (b) its alleged 100% ownership interests in several entities,

including Rooftop Services. Dkt. No. 21 at 4. In light of the Debtor’s current stated assets,

substantial assets have been transferred to affiliates to hold on behalf of the Debtor pursuant to




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 express or implied beneficial interests. Either those rights remain or have been fraudulently

 transferred away.

         25.     The Debtor specifically claims that it has no accounts receivable or purchase orders.

 Id. at 3. This claim either ignores the Debtor’s beneficial ownership or demonstrates the Debtor

 transferred the Debtor’s property, which was subject to TGL’s security interests, to accounts of

 others such as Rooftop USA and/or Rooftop Services. In sum, the Debtor now alleges very few

 assets in its possession, while admitting other Rooftop entities or affiliates have substantial assets.

 On information and belief, those assets rightfully belong to the Debtor.

         26.     As arguable property of the estate, see Chestnut, 422 F.3d at 302, these assets are

 therefore subject to the automatic stay and should remain in place to preserve the status quo for

 the benefit of all creditors until their inclusion in the estate can be confirmed. “[O]ne of the

 purposes of the stay is to preserve the status quo so that the bankruptcy court can ensure that all

 creditors of the bankruptcy estate are treated equitably and fairly. By allowing [creditor] to

 continue with its cause of action against the remaining nonbankrupt corporate defendants, which

 it alleges are part of a single enterprise with the bankrupt corporate defendant, ‘would undercut

 the general bankruptcy policy of ensuring that all similarly-situated creditors are treated fairly.’”

 Rehab Choice Inc. v. CLC Healthcare, Inc., CIV.A. 4:07-CV-314-Y, 2007 WL 1944344, at *6

 (N.D. Tex. July 2, 2007).

                                           Request for Relief

         Triumphant Gold respectfully requests that the Court grant this Motion and enter an order

 (a) declaring that the automatic stay applies to all property in which the Debtor arguably holds an

 interest; (b) directing that (1) the status quo is maintained as to all money, POs, A/R, and inventory

 held by affiliated or related non-debtor entities, including but not limited to Rooftop USA, Rooftop




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 Services, Asian Express, Gandiva, the Matloff Trust, and any European affiliates of the Debtor,

 (2) the Debtor is required to account to the Court for all such property, and (3) any party wishing

 to take any action with respect to the property first seek relief from the Court; and (c) granting

 such other and further relief as the Court deems just and proper.




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 DATED this 10th day of July, 2019

                                                         Respectfully submitted,

                                                         /s/ Katharine Battaia Clark
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                               CERTIFICATE OF CONFERENCE

         I hereby certify that on July 10, 2019, the undersigned counsel circulated a copy of the
 Motion for purposes of conference to counsel for the Debtor. At the time of the filing of the
 Motion, counsel for the Debtor, responded as opposed. Undersigned counsel for the movant is
 not currently aware of counsel representing the Creditors’ Committee and is thus unable to
 confer with the Creditor’s Committee at this time.


                                                                 /s/ Katharine Battaia Clark
                                                                  Katharine Battaia Clark




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                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing instrument has been
 served electronically via the Court’s ECF noticing system on those parties who receive notice from
 that system on the 10th day of July, 2019 and on the following parties pursuant to Local Rule
 4001-1(a) on 11th day of July, 2019, by regular United States mail, *with courtesy copy by email:

  The Debtor                                          Proposed Counsel to the Debtor:
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  Committee Members:                                  Counsel to Disney Consumer Products
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                                                                 /s/ Katharine Battaia Clark
                                                                  Katharine Battaia Clark



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